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Counsel for Arba Group

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                           )
                                                                     Chapter 11
                                                           )
                                                           )
                                                                     Case No. 19-76260 (AST)
                                                           )
In re:                                                               Case No. 19-76263 (AST)
                                                           )
                                                                     Case No. 19-76267 (AST)
                                                           )
Absolut Facilities Management, LLC, et al.,                          Case No. 19-76268 (AST)
                                                           )
                                                                     Case No. 19-76269 (AST)
                                                           )
                                  Debtors. 1                         Case No. 19-76270 (AST)
                                                           )
                                                                     Case No. 19-76271 (AST)
                                                           )
                                                                     Case No. 19-76272 (AST)
                                                           )
                                                           )
                                                                     (Jointly Administered)
                                                           )


                     NOTICE OF UNRESOLVED OBJECTION TO
           DEBTORS’ PROPOSED FORM OF INTERIM DIP FINANCING ORDER

         Arba Group and its affiliates (collectively, the “Landlords”2) for six skilled nursing facilities

and one assisted living facility operated by the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”), by and through its undersigned counsel, hereby provides this Court


1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and Rehabilitation at Allegany,
LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266); Absolut Center for Nursing
and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641); Absolut Center for Nursing and
Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
(8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC (7924).
2
  The Landlords are 292 Main Street, LLC; 6060 Armor Road, LLC; 2178 N. Fifth Street, LLC; 101 Creekside Drive,
LLC; 4540 Lincoln Drive, LLC; and 26 Cass Street, LLC.
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and parties in interest notice that the Landlord’s objections [Docket Nos. 30 and 39] (the

“Objections”) to the Debtors’ Emergency Motion for Entry of Interim and Final Orders (I)

Authorizing Debtors to (A) Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362,

364(c)(1), 364(c)(3), 364(d)(1), and 364(e) and (B) Use Cash Collateral [Docket No. 4] (the “DIP

Motion”) have not been resolved.

           On September 23, 2019, five (5) days after the second hearing on the DIP Motion, the

Landlords received (for the first time) a draft of a proposed interim order granting the DIP Motion

(the “Debtors Proposed Order”), requesting comments by the parties a mere five (5) hours later.

The Landlords provided the Debtors with timely comments to the Debtors Proposed Order, which

are consistent with discussions amongst the Debtors, the Lender, the Pre-Petition Lender and the

Landlords as well as the parties’ discussion of the DIP Motion on the record at the hearing. Without

prior notice to the Landlord, on September 25, 2019, the Debtors uploaded the Debtors Proposed

Order. The Debtors Proposed Order fails to incorporate any of the Landlords’ comments.

           As indicated on the record at the September 18, 2019 hearing, the Court approved limited

relief and mandated that any proposed order be narrowly tailored and any “bells and whistles”

would be subject to scrutiny by the Court. The Debtors Proposed Order contains various findings

by this Court and inappropriate protections to the Debtors and Lender3 that were not discussed with

the Landlords or approved on the record at that September 18 hearing, including, among other

things, (a) overreaching findings of the Court for which there was no record made, (b) blanket

approval of the DIP Loan Agreement and the provisions therein, (c) a determination that the insider

Lender is entitled to protections pursuant to section 364(e) of the Bankruptcy Code, (d) a waiver of

the equitable doctrine of “marshalling”, (e) expansive automatic termination rights upon an event



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    Capitalized terms used but not defined herein shall have the meanings assigned such terms in the DIP Motion.


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of default, and (f) broad rights by the Debtors and Lender to modify the DIP Facility and DIP Loan

Agreement without Court approval. Additionally, the Debtors Proposed Order fails to preserve the

priority of preexisting lien holders as expressly agreed to at the hearing or attach a current budget.

        The Landlords request that this Court not enter the Debtors Proposed Order because it does

not resolve the Objections nor accurately reflect the record. The Landlords attach hereto as Exhibit

A, a revised proposed form of interim DIP order that is consistent with the record and relief granted

at the September 18 hearing (the “Landlords Proposed Order”). A redlined version of the Landlords

Proposed Order reflecting the changes made to the Debtors Proposed Order is attached hereto as

Exhibit B. The Landlords request that this Court enter the Landlords Proposed Order or, in the

alternative, hold a telephonic hearing to resolve these issues.



Dated: New York, New York
       September 26, 2019
                                                     ARENT FOX LLP

                                                     Counsel for Arba Group

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